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                       UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ILLINOIS

DEBORAH LAUFER, Individually,
Plaintiff,
   V.
                                                         Case No. 1:20-cv-03527
U.L.S.T., LLC d/b/a WATERFRONT HOTEL                     Honorable Gary Feinerman
& MARINA, an Illinois Limited Liability                  Magistrate Judge Sheila M. Finnegan
Company,
Defendant.
-______________________________________

              DEFENDANT’S MEMORANDUM IN SUPPORT OF ITS
                     F.R.C.P 12 (1) & (6) TO DISMISS


                                     I. INTRODUCTION

       Defendant U.L.S.T., LLC d/b/a Waterfront Hotel and Marina (“Waterfront Hotel”), by its

undersigned attorneys, submits this memorandum in support of its F.R.C.P. 12 (1) and (6)

Motion to Dismiss the Complaint of Plaintiff Deborah Laufer (“Ms. Laufer”).

       In her complaint, Ms. Laufer alleges that she resides in Florida, where she logged on to

the Waterfront Hotel’s third-party websites. The hotel itself is in Johnsburg, Illinois. She further

alleges that she could not find sufficient information on the websites to assess whether the

hotel’s physical facilities could accommodate her disabilities. Absent in this complaint, however,

are any allegations that she ever intended to visit Illinois or to possibly stay at the hotel. Nor are

there any allegations that she ever intends to visit Illinois in the future. Thus, as demonstrated

below, she lacks standing to bring this matter. Specifically, she has not suffered any concrete and

personalized injuries sufficient to confer jurisdiction in Illinois. Furthermore, the complaint fails

to state a claim. She has not alleged, nor can she, that she was ever denied actual access to the

hotel for any reason, let alone, because of her disabilities.



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                                        II. BACKGROUND

           As this is a motion to dismiss, the allegations of the complaint are assumed to be true.

Neverthess, facts that are not pled can be as equally compelling. As pointed out below, those

unpled facts require the dismissal of this case for both grounds asserted in this motion.

           Pared down to the complaint’s bare essentials, here are the facts that are pled. Ms. Laufer

lives in Pasco County, Florida and is disabled as defined under the American with Disabilities

Act (“ADA”). Compl., par. 1. She has trouble walking and must use either a cane or a wheelchair

to do so. Id. She also has limited use of her hands and is vision impaired. Id,

           Waterfront Hotel is what the name indicates, a hotel with a marina in Johnsburg, Illinois.1

Id at par. 3. Waterfront Hotel’s facilities, according to Ms. Laufer, are required to be ADA

compliant, but that is not the specific issue here. Instead, the issue here is the third-party websites

that Waterfront Hotel uses, expedia.com, Booking.com and Orbitz.com, to advertise the hotel

and to place reservations. Id. at par. 10. Ms. Laufer claims that she has visited these websites

sights before she brought this matter and intends to revisit them at some point. These websites

allegedly have insufficient ADA information for Ms. Laufer to determine if the hotel is a place

that accommodate her disabilities. Id.

           Yet, Ms. Laufer has not pled the following. She has not stated that she had any intentions

whatsoever to possibly stay at the Waterfront Hotel or visit Johnsburg either before or at the time

she accessed the third-party websites. Equally compelling is that she has not alleged that she ever

intends to visit Johnsburg or may stay at the hotel in the future. Thus, this matter is not about a

hotel and whether it can accommodate a person with disabilities. Rather, it is about an individual



1
    Johnsburg is in McHenry County, Illinois and is about sixty miles outside of Chicago.
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with disabilities that appears never to have any desire then, now, or in the future, to come to

Johnsburg and possibly stay at the Waterfront Hotel.

                                           III. ARGUMENT

A. Ms. Laufer lacks standing.

         Any person who sues in the federal courts must have standing. See e.g., Carello v.

Aurora Policemen Credit Union, 930 F. 3d 830 (7th Cir. 2019). “To establish standing, a

‘plaintiff must allege an injury in fact that is traceable to the defendant's conduct and redressable

by a favorable judicial decision.’ [citations omitted].” Id at 833. The Seventh Circuit has

explained that the injury to confer standing must be “both concrete and particularized.” Id. Also,

because Ms. Laufer is seeking injunctive relief, she must demonstrate that she faces a “real and

immediate threat of future injury.” Id.

         Here, Ms. Laufer claims that the Waterfront Hotel’s use of third-party websites that are

non-ADA compliant infringes upon her right to travel free of discrimination and deprives her of

information she allegedly needs to make meaningful choices to travel. Compl., par. 13. She also

claims that the non-compliant websites have caused her humiliation and frustration. Id. But she

has not alleged that she ever intended to visit Johnsburg or possibly stay at the Waterfront Hotel,

either then or now. Nor does she allege that she ever intends to visit Illinois in the future.2 Thus,

has she suffered the type of injury necessary to confer standing? Several federal court cases have

ruled that she has not. Hernandez v. Caesars License Co., LLC, 2019 U.S. Dist. LEXIS 172456 (

N.J. Dist. 2019); Strojnik v. Kapalua Land Co, 2019 U.S. Dist LEXIS 165525 (Hawaii 2019).

See also Harty v. Greenwich Hospitality Group, LLC, 2013 U.S. App. LEXIS 22136 (2nd Cir.

2013) (Where the Second Circuit stated that the plaintiff lacked standing because he never


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  Ms. Laufer has admitted in her complaint that she is a tester. She has filed twenty-nine similar suits in New York
and has eight pending in this district. Nationally, she has filed 235 similar cases.
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intended to return to the city where the hotel was located.); Laufer v. Laxmi & Sons, 2020 U.S.

Dist. LEXIS 79545 (N. D. N.Y. 2020) (Where the district court on its own raised the issue of

standing).3 While some jurisdictions have stated she has standing, Carello compels the opposite

conclusion.

        Ms. Laufer’s alleged injuries have been characterized by courts as an informational harm

from a lack of access to information. Courts have also labelled her injuries as harm to her dignity

as a disabled person. Carello at 833-34. However, as noted by the Seventh Circuit in Carello, not

all harm to dignity confers standing. “[D]ignitary harm stemming for the mere knowledge that

discriminatory conduct is occurring is an ‘abstract stigmatic injury’ that the plaintiff lacks

standing to vindicate.” Carello at 834. As in Carello, where the plaintiff was only harmed in an

abstract stigmatic manner way because she could never become a member of the credit union,

here, Ms. Laufer also has suffered only abstract, stigmatic harm --and not a concrete,

particularized harm-- because she never intended to stay at the Waterfront Hotel when she

accessed the websites. Nor does she ever intend to possibly stay at the hotel in the future.

Consequently, as further explained in Carello, in the absence of any personal, concrete impact on

Ms. Laufer, she has no standing. Id. See also Hernandez, 2019 U.S. Dist. LEXIS, p. 4 (Where

the district court held the plaintiff lacked standing because her alleged harm was not personal to

her since she had no intention of ever staying at the hotel.)

        Likewise, on the issue of informational harm, Ms. Laufer has the same problem. She has

only suffered a generalized harm, and not a concrete, particularized harm, because she never

intended to stay at the hotel.




2. See e.g., Panarese v. Sell It Soc., LLC, 2020 U.S. Dist. LEXIS 119002 (E. Dist. N.Y.)

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       Finally, her claim for injunctive relief is equally defective on the issue of standing. She

has no immediate, real threat of future harm because she does not intend to ever stay at the hotel

in any event.

       Accordingly, for all the above reasons, she lacks standing to bring this claim.

B. Ms. Laufer has failed to state a claim.

       The ADA prohibits discrimination based on disability in places of public

accommodation. See Cohan v. Bensenville Hospitality Inc., 2016 U.S. Dist. LEXIS 62207 (N.

Dist. Ill). Said differently, the ADA requires the hotel to accommodate Ms. Laufer’s disabilities

if she desires to stay there. But she never intends to stay at the hotel, according to her complaint.

Moreover, Ms. Laufer never alleges that the hotel itself is non-ADA compliant. Absent her

intentions of ever wanting to stay at the hotel, Ms. Laufer cannot claim that she has ever been

denied actual access to the hotel because of her disabilities. Thus, she has not suffered any ADA

discrimination by the hotel and, therefore, she has failed to state a claim under the ADA. Strojnik

v. Kapalua Land Co, 2019 U.S. Dist LEXIS 165525 (Hawaii 2019).




                            DEFENDANT U.L.S.T., LLC d/b/a WATERFRONT
                                    HOTEL AND MARINA,
                                     By: /s/ Lawrence Rosen
                                      (One of its Attorneys)




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                            CERTIFICATE OF SERVICE


          The undersigned certifies under applicable law that the memorandum of law in support
of the motion to dismiss, the motion to dismiss and the notice of motion were served on
plaintiff’s attorney through the court’s electronic-filing system under F.R.C.P. 5 (b) (1) & (2) (E)
and by emailing copies to kimberlyatlaw@gmail.com and robert_lewin@hotmail.com on July
30, 2020.

                                     /s/ Lawrence Rosen




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